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                         Exhibit F
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                                        September 17, 2021

 Via electronic mail to

 Peter D. Lepiscopo
 Lepiscopo and Associates Law Firm
 695 Town Center Drive 7th Floor
 Costa Mesa, CA 92626
 619-251-2428
 Fax: 619-330-2991
 Email: plepiscopo@att.net

 Re:    Reiners v. Chou Team Realty, LLC, et al., Case No. 2:20-cv-06587-SB-ADS (C.D. Cal.)

 Dear Counsel:

         This letter responds to your September 9th letter sent on behalf of Sales Speek, Inc.
 (“Sales Speek”), which purports to return without action the subpoena to produce documents,
 information, or objects or to permit inspection of premises in a civil action issued in the above-
 entitled action on August 9, 2021 (hereafter “Subject Subpoena”). The sole justification for Sales
 Speek’s refusal to respond to the subpoena is your contention that the entity “does not exist.” Put
 simply, this is not a basis for refusing to comply with a subpoena and a complete response must
 be served without further delay.

        Under California law, the dissolution of a corporation does not render the entity
 nonexistent. See, e.g., Cal. Corp. Code § 2010 (West). Rather,

        A corporation which is dissolved nevertheless continues to exist for the purpose of
        winding up its affairs, prosecuting and defending actions by or against it and
        enabling it to collect and discharge obligations, dispose of and convey its property
        and collect and divide its assets, but not for the purpose of continuing business
        except so far as necessary for the winding up thereof.

 Id.; see also City of Rialto v. U.S. Dep't of Def., 492 F. Supp. 2d 1193, 1197 (C.D. Cal. 2007).
 Because dissolved corporations retain their right to prosecute and defend legal claims, courts are
 clear that they likewise remain obligated to respond to valid subpoenas. See In re Grand Jury
 Subpoenas Issued to Thirteen Corps., 775 F.2d 43, 48 (2d Cir. 1985) (finding that a dissolved
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 corporation has a duty to respond to a subpoena); Luv N' Care, Ltd. v. Laurain, No.
 218CV02224JADEJY, 2019 WL 4696399, at *2 (D. Nev. Sept. 26, 2019) (enforcing a subpoena
 against a dissolved entity).

        Here, Sales Speek has an obligation to provide a complete response to the Subject
 Subpoena. As your letter concedes, the subpoena was properly served on Sales Speek’s president
 and registered agent, Jawad Nesheiwat, and specified a response date of September 9, 2021.
 Further, while your letter asserts that Sales Speek “does not exist”, no evidence has been
 produced to support the assertion that any steps have been taken to dissolve the entity.
 Regardless, even if Sales Speek were properly dissolved, that does not provide a basis to ignore
 the Subject Subpoena. As such, Sales Speek must provide a complete response.

           *              *              *              *              *              *

        Accordingly, Plaintiff requests that Sales Speek provide a complete response to the
 subpoena within seven (7) days from the date of this letter. Otherwise, please provide your
 availability to meet and confer regarding a motion to compel compliance.


                                                     Sincerely,

                                                     /s/ Taylor T. Smith
                                                     Taylor T. Smith




                  3900 East Mexico Avenue, Suite 300, Denver Colorado 80210
